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                                                                     JS-6
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 3                                                                   4/21/2020

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 8                      UNITED STATES DISTRICT COURT
 9
                       CENTRAL DISTRICT OF CALIFORNIA
10
11   PATAGONIA, INC.                        Case No. 2:19-cv-07666-JAK-AFMx
12                   Plaintiff,
13                                          DEFAULT JUDGMENT AND
                v.                          PERMANENT INJUNCTION
14
     KIMBERLY McHUGH
15   d/b/a OUR LITTLE CORNER,
16                   Defendant.
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 1         A.     By her default, Defendant has admitted all facts pled in Plaintiff’s
 2   Complaint, including but not limited to acting knowingly, willfully, and in reckless
 3   disregard of Patagonia’s rights, and in bad faith.
 4         B.     Defendant’s use of the PATAGONIA trademark and the Fitz Roy
 5   Skyline Logo depicted below (the “Unauthorized Marks”) without Patagonia’s
 6   permission in connection with products offered through retail channels not authorized
 7   by Patagonia (the “Unauthorized Activities”) violates Patagonia’s rights in the
 8   PATAGONIA trademark and Fitz Roy Skyline Logo and constitutes statutory and
 9   common-law trademark infringement, federal and state unfair competition, false
10   designation of origin, and passing off.
11
12    Trademark                     Registration Number Goods
                                    / Registration Date
13    PATAGONIA                     1189402             Men’s and women’s
14                                  02/09/1982          clothing – namely,
                                                        sweaters, rugby shirts,
15                                                      walking shorts,
16                                                      trousers, jackets,
                                                        mittens, hoods, and rainwear.
17                                  1294523             Men’s, women’s, and
18                                  09/11/1984          children’s clothing – namely,
                                                        jackets, pants, vests, gloves,
19                                                      pullovers, cardigans, socks,
20                                                      sweaters, underwear, shirts,
                                                        shorts, skirts, and belts in
21                                                      Class 25.
22                                  1547469             Men’s, women’s, and
                                    07/11/1989          children’s clothing – namely,
23                                                      jackets, pants, shirts, sweaters,
24                                                      vests, skirts, underwear tops
                                                        and bottoms, socks, gloves,
25                                                      mittens, hats, face masks,
26                                                      balaclava, gaiters, and belts.
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 1                             1775623                Luggage, back packs, and all-
                               06/08/1993             purpose sports bags in Class
 2                                                    18.
 3
     PATAGONIA                 1811334                Luggage, back packs, fanny
 4                             12/14/1993             packs, and all-purpose sport
 5                                                    bags, footwear, ski bags, and
                                                      ski gloves.
 6   PATAGONIA                 2260188                Computerized online ordering
 7                             07/13/1999             activities in the field of
                                                      clothing and accessories;
 8                                                    providing information in the
 9                                                    field of technical clothing and
                                                      accessories for use in
10                                                    recreational, sporting, and
11                                                    leisure activities; providing
                                                      information in the field of
12                                                    existing and evolving
13                                                    environmental issues.
     PATAGONIA.COM             2392685                Online retail store and mail
14
                               10/10/2000             order services featuring
15                                                    technical clothing, footwear,
                                                      and accessories; computer
16
                                                      services in the nature of online
17                                                    information related to the
                                                      environment and clothing.
18
     PATAGONIA                 2262619                Retail store services featuring
19                             12/17/2002             clothing, footwear, luggage,
                                                      and a wide variety of sporting
20
                                                      goods and accessories.
21   PATAGONIA                 61338 (California)     Men’s and women’s clothing,
22                             04/08/1980             namely sweaters, rugby shirts,
                                                      walking shorts, trousers,
23                                                    jackets, mittens, hoods, and
24                                                    rainwear.
                               0169639 (California)   Men’s, women’s, and
25                             05/23/1983             children’s clothing.
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 1
 2         C.     Defendant’s use of the Unauthorized Marks in connection with the
 3   Unauthorized Activities violates Patagonia’s rights in the PATAGONIA trademark
 4   and Fitz Roy Skyline Logo and constitutes trademark dilution.
 5         D.     Defendant’s use of the Fitz Roy Skyline Logo and product photographs
 6   depicted below (the “Unauthorized Images”) in connection with the Unauthorized
 7   Activities violates Patagonia’s rights in its copyrighted works and constitutes
 8   copyright infringement.
 9         E.     Defendant—by purchasing PATAGONIA products for resale through
10   unauthorized retail channels—interferes with and persuades authorized dealers to
11   breach the terms of their agreements with Patagonia. Defendant has done so despite
12   notices from Patagonia informing her (1) of Patagonia’s dealer contracts and (2) that
13   Defendant’s sales cause authorized dealers to breach those contracts. Such actions
14   constitute intentional interference with contractual relations.
15         F.     Defendant must immediately cease and permanently refrain from using
16   the Unauthorized Marks and/or the Unauthorized Images in connection with the
17   Unauthorized Activities.
18         G.     Defendant has infringed eleven of Patagonia’s copyrighted works, and
19   must pay Patagonia statutory damages in the amount of $10,000 per work infringed,
20   for a total of $110,000. Defendant must also pay Patagonia post-judgment interest
21   pursuant to 28 U.S.C. § 1961(a).
22
23       U.S. Copyright Registration No.                      Copyrighted Work
                 VA 1-801-788
24
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 1      U.S. Copyright Registration No.               Copyrighted Work

 2
 3
 4
 5
 6               VA 2-126-083
               (group registration)
 7
 8
 9
                 VA 2-126-079
10             (group registration)
11
12
13               VA 2-126-012
               (group registration)
14
15
16
                 VA 2-126-082
17             (group registration)
18
19
20               VA 2-126-083
21             (group registration)
22
23
24               VA 2-126-080
25             (group registration)

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 1       U.S. Copyright Registration No.                      Copyrighted Work
                 VA 2-126-079
 2             (group registration)
 3
 4
 5
                   VA 2-126-012
 6               (group registration)
 7
 8
 9
                   VA 2-126-012
10               (group registration)
11
12
13                 VA 2-126-081
14               (group registration)
15
16
17
           H.     Defendant must pay Patagonia attorneys’ fees in the amount of $5800
18
     pursuant to the schedule set forth in Local Rule 55-3.
19
           I.     Until Patagonia has recovered full payment of monies owed to it by
20
     Defendant, Patagonia shall have ongoing authority to serve this Judgment on any
21
     banks, savings and loan institutions, or other financial institutions including, without
22
     limitation, Amazon.com and its related entities/affiliates (collectively, the “Financial
23
     Services Providers”). Upon receipt of this Judgment, the Financial Service Providers
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     shall immediately locate and restrain any accounts connected to Defendant, and any
25
     funds in such accounts shall be transferred to Patagonia within ten (10) days of receipt
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     of this Judgment.
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 1         IT IS FURTHER ORDERED, ADJUDGED AND DECREED THAT
 2   Defendant and all persons in active concert or participation with her are permanently
 3   enjoined from:
 4         1.     Using the Unauthorized Marks in any form, including with any other
 5   wording or designs, in connection with the Disputed Products, and from using any
 6   other marks, logos, designs, designations, or indicators that are confusingly similar to
 7   or dilutive of Patagonia’s PATAGONIA trademark and/or Fitz Roy Skyline Logo.
 8         2.     Using the Unauthorized Images in any form, and from using any other
 9   logos, designs, or images that are substantially similar to Patagonia’s Fitz Roy Skyline
10   Logo and/or product photographs.
11         3.     Representing by any means whatsoever, directly or indirectly, that
12   Defendant, any products or services offered by Defendant, or any activities
13   undertaken by Defendant, are associated or connected in any way with Patagonia or
14   sponsored by or affiliated with Patagonia in any way.
15         4.     Inducing Patagonia’s authorized dealers to breach the terms of their
16   dealer agreements with Patagonia, including but not limited to by purchasing
17   PATAGONIA products for resale through unauthorized retail channels such as
18   Amazon.com.
19         5.     Assisting, aiding, or abetting any other person or business entity in
20   engaging in or performing any of the activities referred to in paragraphs (1) through
21   (4) above.
22         Judgment is hereby entered against Defendant Kimberly McHugh, d/b/a Our
23   Little Corner on Counts 1 through 6 of the Complaint.
24
25   IT IS SO ORDERED.
26   Dated: April 21, 2020            _________________________________
                                           John A. Kronstadt
27
                                           United States District Judge
28

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